Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 1 of 7
         Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 2 of 7




     Sam F      M Police
                    ~ Department                                                            9.01
--   GENERAL ORDER'                                                                      08/10/94


                                   TRAFFIC ENFORCEMENT
     This order sets policies and procedures regarding traffic enforcement, including
     moving, parking, and mechanical violations, commercial vehicle registration and
     mechanical violations, citing at the scene of traffic collisions, and voiding citations.

     1. POLICY
        A. ENFORCEMENT

             L GOALS. The goals of the Department's traffic enforcement program are to
                 reduce traffic collisions, facilitate traffic flow, and ease parking congestion.

             2 PIUORZTY. Traffic enforcement is a major priority of the Department and
               an important task assigned to uniformed personnel. Members shall give
                priority to enforcing violations consistent with the above goals.

             3. DISCREIION. Members enforcing traffic and parking laws must also use
                discretion; however, members shall not let the attitude of a violator
               -influence their enforcement action.

       B. MOVING VIOLATIONS
             1. UNIFORMED OFFICERS.Moving violatiom shall be enforced only by
                uniformed officers, except as provided in DGO 5.08, Non-Uniformed
                Officers. Patrol Special and Assistant Patrol Special officers are not
                authorized to enforce moving violations or laws regulating pedestrian
                traffic
             2 BICYCLISTS. According to Section 21200 CVC,bicyclists are subject to the
               same rights and responsibilities is other vehides on a roadway and can be
               cited for certain moving violations. Local ordinances also regulate bicycle
               messengem (see Traffic Code 'Sections9848.3).
    Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 3 of 7




DGO 9.01
08/10/94                                                                                 --
     3. ENFORCEMENT. Officer~s h d act on moving violations in any of the
        following circumstances:

         a After witnessing a violation
        b In response to a private person's arrest.

        c When reasonable cause has been established by a qualified officer
            investigating a traffic collision.

     4. IDENTIFICATION. Wher=. ssuing a moving violation,       an officer s h d
        reasonably ascertain the zme identity of the violator. If this is not possible
        through valid identification or other efforts, the violator shall be booked
        and the "inability to asceshh identitg" entered on the booking f onn as the
        reason for not issuing a citation (see DGO 5.06, Citation Release).
  C PARKING VIOLATIONS (alsosee DGO 8.09, Media Relations). Patrol Special
    and Assistant Patrol Special Officers are not authorized to enforce parking
    laws .

  D. MECHANICAL VIOLATIONS. AU uniformed officers shall enforce                          -4-


     m&anical, licensing and registration violations. Uniformed offieersmay, in
     accordance with Section 40001 CV.C, cite the owner or agent of any
     commercial vehicle in absentia for any mechanical violation, provided the
     operator of the vehicle is an employee of the owner (see below).

  E RELEASE OF VIOLATORS. Except as required by Section 40302 CVC, all
    traffic violators shall be released upon their written pmmise to appear.

11. PROCEDURES
  A. DISPOSITION OF TRAFFIC OFFENSES. Rules governing the disposition of
     traffic offenses depend on the kind of offense and the age of the violator.
    When issuing a citation, answer reasonable questions and inform the person
    of the nature of the violation and the proper means of disposing of the
    citation.
     1. PARKING OFFENSES. The rules governing the disposition of "Notice of
        Parlcing Violation" apply to both adults and juveniles. Instructions for
        disposition of the violation are printed on the.back of the violator's copy.
 Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 4 of 7




                                                                           DGO 9.01
                                                                         08/10/94

   2- NON-PARKING OFFENSES.

      a. Adults cited with a 'Notice to Appear" for any traffic offense must
         appear or submit bail. Certain moving violations require a mandatory
         appearance and must be assigned a specific court date.

      b. Juveniles cited for traffic offenses shall be referred to the juvenile court
         for a court date and disposition. When issuing a traffic citation to a
         juvenile, check 'To be notified by Juvenile Court" and have the
         juvenile sign the citation.

B. REFUSAL TO SIGN CITATION. See DGO 5.06, Citation Release.
C. CITING AT THE SCENE OF A .TRAFFICCOLLISION

  1. PURPOSE. A Notice to Appear may be issued by a qualified officer
      investigating a vehicle collision, even though the violation did not occur
      in hidher presence. The purpose of issuing a Notice to Appear is to bring
      a suspected eaffic violator involved in a trafficcollision into court.
      Unlike most occasions when a Notice to Appear is issued after an officer
      witnesses a violation, a Notice to Appear issued in connection with a
     -traffic collision does not constitute an arrest and the violator need not sign
      the citation.

  2 QUAL,IFICATION. Only officers possessing either of the following
     qualifications may issue a Notice to Appear in connection with a traffic
     collision:
     a. A Certificate of Completion from a P.O.S.T.- certified course in the
        investigation of vehicle accidents, or

     b. Officers, who through training and experience, enforced traffic laws
        following collisions when such experience was gained prior to the
        State's adoption of Division 17, Article 3, commencing with Section
        40600 of the California Vehicle Code.

  3. CRITERIA FOR ISSUANCE. Before issuing a .Noticeto Appear at the scene of a
     traffic collision, a Traffic Collision Report (SFPD 555) must be completed by
     a.qualifiedofficer, and he/she must have reasonable cause to believe a
     traffic violation (infraction or misdemeanor) had occurred.
   Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 5 of 7



DGO 9.01
08/10/94

    4. ESUING THE NOTICE TO APPEAR complete the notice to appear in the same
       way as you would if the violation had been committed in your presence.
       Ensure that the incident report number is included. If possible, have the
       violator sign the citation; however, the violator &not required to sign.
       a. Cite adult violators to the Clerk of Municipal court within 21 days.
          Juvenile violators will be notified of the date and time of their
          appearance.

      b. After completing the Notice to Appear, furnish a copy to the violator
         only if the citation has been signed. Tell the .violator that he/she has 21
         days either to post bail or to request a murt hearing at the Traffic Fines
         Bureau, Room 101,Hall of Justice. Also advise the violator that failure
         to respond may result in a hold being place on his/her driver license, a
         complaint being filed, and a warrant of arrest issued.

      c If the violator refuses to sign the Citation, print "MAIL.ED" in the
        signature box, but do not give the violator a copy. Forward all copies
        of the citation, along with a copy of the accident report, to the Collision
        Complaint Review Officer, Traffic Division who will mail the citation
     - to the violator indicating the date mailed in the signature box.                -   -/




      TRAFFIC COLLISION INVESTIGATION AND REPORT (also see E o 9.02, Vehicle
      Accidents). Establish and present the "corpus" of the vialation and the
      basis for issuing the Notice of Violation in the concluding narrative of
      your traffic collision report.

   6. FORWARDING. Forward the Notie to Appear and a mpy of the traffic
      collision report, to the Traffic Division, Traffic Collision Complaint
      Review Officer. Forward the original collision report in the usual
      manner.
Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 6 of 7




                                                                        DGO 9.01
                                                                      08/10/94

D.COMMERCIAL VEHICLE REGISTRATION AND MECHANICAL
  VIOLATIONS

  1. ENFORCEMENT PROCEDURES. When stopping a driver of a commercial
     vehicle for a registration or mechanical violation, and the driver is an
     employee but not the officer or owner of the f a , follow these procedures
     when completing the Notice to Appear:
    a. Complete all the information boxes for the driver and vehicle.
    b. In the registered owner/lessee section, write the company name, the
       name and address of the owner, and the responsible person of the
       company to whom the citation should be directed.
    c Write "40001A CVC (OWNER'S RESPONSIBILITYY in the signature section.
      The driver does not sign the citation.

    d Do not detach the copies of the citation. Forward the entire set to the
       Traffic Division, Commercial Vehicle Unit.

 2. OUT OF STATE REGETRATION; The procedures above apply only to
    'commercial vehicles registered in CaIifornia. They do not apply to
     commercial vehicles registered in another state or to violations that are
     clearly the responsibility of the driver.
   Case 3:19-cr-00279-CRB Document 37-2 Filed 12/04/19 Page 7 of 7



DGO 9.01
08/10/94                                                                               -.-

  E. BOOKINGS. Persons may be arrested and booked solely for traffic infractions
     or a combination of traffic infractions and non-traffic offenses. Courts have
    voided c r i m i ~charges
                      I        after an individual had resolved the traffic offense,
    which was often the basis of probable cause for the officer to stop, detain and
    investigate. Therefore, it is very important to list all traffic or non-traffic
    infractions on the booking form along with the other more serious offenses
    (see DGO 4.01, Booking of Prisoners). All the charges will be combined into a
    single case by the District Attorney.

    1. NOTICE IV' ~ APPEAR. When booking a person for a combination of traffic
       infractions and other offenses, complete a Notice to Appear onlv to record
       the traffic infraction with the DMV. Do not assism a court date, check a box
       for disposition or have the suspect sign the Notice to A~Pear.Write
       "Booked at            " in the signature section of the form, but do not
    . give the suspect a mpy. Attach the entire set of the Notice to Appear to
       your incident report.
    2 INTOXICATED D    -       (DUD. After akesting an intoxicated driver, list any
       traffic violation that was the basis of probable cause to stop or was a
       significant contributing factor in a collision on the booking form in
     - addition  to the DUI charge.
 F. VOIDING CITATIONS. See DGO 9.05, Traffic Citation Control.
